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 3                          UNITED STATES DISTRICT COURT
 4          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 5

 6

 7     TERESA DEL CARMEN GARCIA,                   Case No. 2:20-cv-08659-MWF (ASx)
 8                  Plaintiff,                     District Judge: Michael W. Fitzgerald
                                                   Magistrate Judge: Alka Sagar
 9            v.
                                                    PROTECTIVE ORDER
10     TARGET CORPORATION, and
       DOES 1 through 25, Inclusive,
11

12                  Defendants.
13

14

15          1.     A. PURPOSES AND LIMITATIONS
16

17          Discovery in this action is likely to involve production of confidential,
18    proprietary or private information for which special protection from public
19    disclosure and from use for any purpose other than prosecuting this litigation may
20    be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
21    enter the following Stipulated Protective Order. The parties acknowledge that this
22    Order does not confer blanket protections on all disclosures or responses to
23    discovery and that the protection it affords from public disclosure and use extends
24    only to the limited information or items that are entitled to confidential treatment
25    under the applicable legal principles. The parties further acknowledge, as set forth
26    in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
27    file confidential information under seal; Civil Local Rule 79-5 sets forth the
28
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 1    procedures that must be followed and the standards that will be applied when a party
 2    seeks permission from the court to file material under seal.
 3

 4          B. GOOD CAUSE STATEMENT
 5

 6          A Stipulated Protective Order is required to ensure the confidentiality of
 7    certain information involving trade secrets, customer and pricing lists and other
 8    valuable research, development, commercial, financial, technical and/or proprietary
 9    information that is protected from public disclosure and from use for any purpose
10    other than prosecution of this action.
11          Such confidential and proprietary materials and information consist of, among
12    other things, confidential business or financial information, information regarding
13    confidential business practices, information otherwise generally unavailable to the
14    public, or which may be privileged or otherwise protected from disclosure under
15    state or federal statutes, court rules, case decisions, or common law. Accordingly, to
16    expedite the flow of information, to facilitate the prompt resolution of disputes over
17    confidentiality of discovery materials, to adequately protect information the parties
18    are entitled to keep confidential, to ensure that the parties are permitted reasonable
19    necessary uses of such material in preparation for and in the conduct of trial, to
20    address their handling at the end of the litigation, and serve the ends of justice, a
21    protective order for such information is justified in this matter. It is the intent of the
22    parties that information will not be designated as confidential for tactical reasons
23    and that nothing be so designated without a good faith belief that it has been
24    maintained in a confidential, non-public manner, and there is good cause why it
25    should not be part of the public record of this case.
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 1    2.   DEFINITIONS
 2

 3         2.1    Action: This pending federal lawsuit.
 4         2.2    Challenging Party: a Party or Non-Party that challenges the
 5         designation of information or items under this Order.
 6         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 7         how it is generated, stored or maintained) or tangible things that qualify for
 8         protection under Federal Rule of Civil Procedure 26(c), and as specified
 9         above in the Good Cause Statement.
10         2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
11         their support staff).
12         2.5    Designating Party: a Party or Non-Party that designates information or
13         items that it produces in disclosures or in responses to discovery as
14         “CONFIDENTIAL.”
15         2.6    Disclosure or Discovery Material: all items or information, regardless
16         of the medium or manner in which it is generated, stored, or maintained
17         (including, among other things, testimony, transcripts, and tangible things),
18         that are produced or generated in disclosures or responses to discovery in this
19         matter.
20         2.7    Expert: a person with specialized knowledge or experience in a matter
21         pertinent to the litigation who has been retained by a Party or its counsel to
22         serve as an expert witness or as a consultant in this Action.
23         2.8    House Counsel: attorneys who are employees of a party to this Action.
24         House Counsel does not include Outside Counsel of Record or any other
25         outside counsel.
26         2.9    Non-Party: any natural person, partnership, corporation, association or
27         other legal entity not named as a Party to this action.
28         2.10 Outside Counsel of Record: attorneys who are not employees of a
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 1          party to this Action but are retained to represent or advise a party to this
 2          Action and have appeared in this Action on behalf of that party or are
 3          affiliated with a law firm that has appeared on behalf of that party, and
 4          includes support staff.
 5          2.11 Party: any party to this Action, including all of its officers, directors,
 6          employees, consultants, retained experts, and Outside Counsel of Record (and
 7          their support staffs).
 8          2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 9          Discovery Material in this Action.
10          2.13 Professional Vendors: persons or entities that provide litigation
11          support services (e.g., photocopying, videotaping, translating, preparing
12          exhibits or demonstrations, and organizing, storing, or retrieving data in any
13          form or medium) and their employees and subcontractors.
14          2.14 Protected Material: any Disclosure or Discovery Material that is
15          designated as “CONFIDENTIAL.”
16          2.15 Receiving Party: a Party that receives Disclosure or Discovery
17          Material from a Producing Party.
18

19
      3.    SCOPE

20
            The protections conferred by this Stipulation and Order cover not only
21
      Protected Material (as defined above), but also (1) any information copied or
22
      extracted from Protected Material; (2) all copies, excerpts, summaries, or
23
      compilations of Protected Material; and (3) any testimony, conversations, or
24
      presentations by Parties or their Counsel that might reveal Protected Material.
25
            Any use of Protected Material at trial shall be governed by the orders of the
26
      trial judge. This Order does not govern the use of Protected Material at trial.
27

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 1    4.    DURATION
 2

 3          Even after final disposition of this litigation, the confidentiality obligations
 4    imposed by this Order shall remain in effect until a Designating Party agrees
 5    otherwise in writing or a court order otherwise directs. Final disposition shall be
 6    deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 7    or without prejudice; and (2) final judgment herein after the completion and
 8    exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 9    including the time limits for filing any motions or applications for extension of time
10    pursuant to applicable law.
11

12    5.    DESIGNATING PROTECTED MATERIAL
13

14          5.1    Exercise of Restraint and Care in Designating Material for Protection.
15    Each Party or Non-Party that designates information or items for protection under
16    this Order must take care to limit any such designation to specific material that
17    qualifies under the appropriate standards. The Designating Party must designate for
18    protection only those parts of material, documents, items or oral or written
19    communications that qualify so that other portions of the material, documents, items
20    or communications for which protection is not warranted are not swept unjustifiably
21    within the ambit of this Order.
22          Mass, indiscriminate or routinized designations are prohibited. Designations
23    that are shown to be clearly unjustified or that have been made for an improper
24    purpose (e.g., to unnecessarily encumber the case development process or to impose
25    unnecessary expenses and burdens on other parties) may expose the Designating
26    Party to sanctions.
27          If it comes to a Designating Party’s attention that information or items that it
28    designated for protection do not qualify for protection, that Designating Party must
                                                 5
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 1    promptly notify all other Parties that it is withdrawing the inapplicable designation.
 2          5.2      Manner and Timing of Designations. Except as otherwise provided in
 3    this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 4    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 5    under this Order must be clearly so designated before the material is disclosed or
 6    produced.
 7

 8          Designation in conformity with this Order requires:
 9                (a) for information in documentary form (e.g., paper or electronic
10                    documents, but excluding transcripts of depositions or other pretrial or
11                    trial proceedings), that the Producing Party affix at a minimum, the
12                    legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”),
13                    to each page that contains protected material. If only a portion of the
14                    material on a page qualifies for protection, the Producing Party also
15                    must clearly identify the protected portion(s) (e.g., by making
16                    appropriate markings in the margins).
17

18          A Party or Non-Party that makes original documents available for inspection
19    need not designate them for protection until after the inspecting Party has indicated
20    which documents it would like copied and produced. During the inspection and
21    before the designation, all of the material made available for inspection shall be
22    deemed “CONFIDENTIAL.” After the inspecting Party has identified the
23    documents it wants copied and produced, the Producing Party must determine which
24    documents, or portions thereof, qualify for protection under this Order. Then,
25    before producing the specified documents, the Producing Party must affix the
26    “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
27    portion of the material on a page qualifies for protection, the Producing Party also
28    must clearly identify the protected portion(s) (e.g., by making appropriate markings
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 1    in the margins).
 2                (b) for testimony given in depositions that the Designating Party identifies
 3    the Disclosure or Discovery Material on the record, before the close of the
 4    deposition all protected testimony.
 5                (c) for information produced in some form other than documentary and
 6    for any other tangible items, that the Producing Party affix in a prominent place on
 7    the exterior of the container or containers in which the information is stored the
 8    legend “CONFIDENTIAL.” If only a portion or portions of the information
 9    warrants protection, the Producing Party, to the extent practicable, shall identify the
10    protected portion(s).
11          5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
12    failure to designate qualified information or items does not, standing alone, waive
13    the Designating Party’s right to secure protection under this Order for such material.
14    Upon timely correction of a designation, the Receiving Party must make reasonable
15    efforts to assure that the material is treated in accordance with the provisions of this
16    Order.
17

18    6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
19

20          6.1      Timing of Challenges. Any Party or Non-Party may challenge a
21    designation of confidentiality at any time that is consistent with the Court’s
22    Scheduling Order, or if no date is provided in the Scheduling Order, no later than
23    discovery cut-off date as ordered by the Court.
24          6.2      Meet and Confer. The Challenging Party shall initiate the informal
25    dispute resolution process set forth in the Court's Procedures and Schedules. see
26    http://www.cacd.uscourts.gov/honorable-alka-sagar.
27          6.3      Joint Stipulation. Any challenge submitted to the Court shall be via a
28    joint stipulation pursuant to Local Rule 37-2.
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 1          6.4      The burden of persuasion in any such challenge proceeding shall be on
 2    the Designating Party. Frivolous challenges, and those made for an improper
 3    purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 4    parties) may expose the Challenging Party to sanctions. Unless the Designating
 5    Party has waived or withdrawn the confidentiality designation, all parties shall
 6    continue to afford the material in question the level of protection to which it is
 7    entitled under the Producing Party’s designation until the Court rules on the
 8    challenge.
 9

10    7.    ACCESS TO AND USE OF PROTECTED MATERIAL
11

12          7.1      Basic Principles. A Receiving Party may use Protected Material that is
13    disclosed or produced by another Party or by a Non-Party in connection with this
14    Action only for prosecuting, defending or attempting to settle this Action. Such
15    Protected Material may be disclosed only to the categories of persons and under the
16    conditions described in this Order. When the Action has been terminated, a
17    Receiving Party must comply with the provisions of section 13 below (FINAL
18    DISPOSITION).
19          Protected Material must be stored and maintained by a Receiving Party at a
20    location and in a secure manner that ensures that access is limited to the persons
21    authorized under this Order.
22          7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
23    otherwise ordered by the court or permitted in writing by the Designating Party, a
24    Receiving Party may disclose any information or item designated
25    “CONFIDENTIAL” only to:
26                (a) the Receiving Party’s Outside Counsel of Record in this Action, as
27    well as employees of said Outside Counsel of Record to whom it is reasonably
28    necessary to disclose the information for this Action;
                                                 8
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 1             (b) the officers, directors, and employees (including House Counsel) of
 2    the Receiving Party to whom disclosure is reasonably necessary for this Action;
 3             (c) Experts (as defined in this Order) of the Receiving Party to whom
 4    disclosure is reasonably necessary for this Action and who have signed the
 5    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 6             (d) the court and its personnel;
 7             (e) court reporters and their staff;
 8             (f) professional jury or trial consultants, mock jurors, and Professional
 9    Vendors to whom disclosure is reasonably necessary for this Action and who have
10    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
11             (g) the author or recipient of a document containing the information or a
12    custodian or other person who otherwise possessed or knew the information;
13             (h) during their depositions, witnesses, and attorneys for witnesses, in the
14    Action to whom disclosure is reasonably necessary provided: (1) the deposing party
15    requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
16    not be permitted to keep any confidential information unless they sign the
17    “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
18    agreed by the Designating Party or ordered by the court. Pages of transcribed
19    deposition testimony or exhibits to depositions that reveal Protected Material may
20    be separately bound by the court reporter and may not be disclosed to anyone except
21    as permitted under this Stipulated Protective Order; and
22             (i) any mediator or settlement officer, and their supporting personnel,
23    mutually agreed upon by any of the parties engaged in settlement discussions.
24

25    8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
26          IN OTHER LITIGATION
27

28          If a Party is served with a subpoena or a court order issued in other litigation
                                                  9
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  1   that compels disclosure of any information or items designated in this Action as
  2   “CONFIDENTIAL,” that Party must:
  3             (a) promptly notify in writing the Designating Party. Such notification
  4   shall include a copy of the subpoena or court order;
  5             (b) promptly notify in writing the party who caused the subpoena or order
  6   to issue in the other litigation that some or all of the material covered by the
  7   subpoena or order is subject to this Protective Order. Such notification shall include
  8   a copy of this Stipulated Protective Order; and
  9             (c) cooperate with respect to all reasonable procedures sought to be
 10   pursued by the Designating Party whose Protected Material may be affected.
 11         If the Designating Party timely seeks a protective order, the Party served with
 12   the subpoena or court order shall not produce any information designated in this
 13   action as “CONFIDENTIAL” before a determination by the court from which the
 14   subpoena or order issued, unless the Party has obtained the Designating Party’s
 15   permission. The Designating Party shall bear the burden and expense of seeking
 16   protection in that court of its confidential material and nothing in these provisions
 17   should be construed as authorizing or encouraging a Receiving Party in this Action
 18   to disobey a lawful directive from another court.
 19

 20   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 21         PRODUCED IN THIS LITIGATION
 22

 23             (a) The terms of this Order are applicable to information produced by a
 24   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
 25   produced by Non-Parties in connection with this litigation is protected by the
 26   remedies and relief provided by this Order. Nothing in these provisions should be
 27   construed as prohibiting a Non-Party from seeking additional protections.
 28             (b) In the event that a Party is required, by a valid discovery request, to
                                                 10
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  1   produce a Non-Party’s confidential information in its possession, and the Party is
  2   subject to an agreement with the Non-Party not to produce the Non-Party’s
  3   confidential information, then the Party shall:
  4                (1) promptly notify in writing the Requesting Party and the Non-Party
  5   that some or all of the information requested is subject to a confidentiality
  6   agreement with a Non-Party;
  7                (2) promptly provide the Non-Party with a copy of the Stipulated
  8   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  9   specific description of the information requested; and
 10                (3) make the information requested available for inspection by the
 11   Non-Party, if requested.
 12             (c) If the Non-Party fails to seek a protective order from this court within
 13   14 days of receiving the notice and accompanying information, the Receiving Party
 14   may produce the Non-Party’s confidential information responsive to the discovery
 15   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
 16   not produce any information in its possession or control that is subject to the
 17   confidentiality agreement with the Non-Party before a determination by the court.
 18   Absent a court order to the contrary, the Non-Party shall bear the burden and
 19   expense of seeking protection in this court of its Protected Material.
 20

 21   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 22

 23         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 24   Protected Material to any person or in any circumstance not authorized under this
 25   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 26   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 27   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 28   persons to whom unauthorized disclosures were made of all the terms of this Order,
                                                11
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  1   and (d) request such person or persons to execute the “Acknowledgment and
  2   Agreement to Be Bound” that is attached hereto as Exhibit A.
  3

  4   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  5         PROTECTED MATERIAL
  6

  7         When a Producing Party gives notice to Receiving Parties that certain
  8   inadvertently produced material is subject to a claim of privilege or other protection,
  9   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 10   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
 11   procedure may be established in an e-discovery order that provides for production
 12   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
 13   (e), insofar as the parties reach an agreement on the effect of disclosure of a
 14   communication or information covered by the attorney-client privilege or work
 15   product protection, the parties may incorporate their agreement in the stipulated
 16   protective order submitted to the court.
 17

 18   12.   MISCELLANEOUS
 19

 20         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 21   person to seek its modification by the Court in the future.
 22         12.2 Right to Assert Other Objections. By stipulating to the entry of this
 23   Protective Order, no Party waives any right it otherwise would have to object to
 24   disclosing or producing any information or item on any ground not addressed in this
 25   Stipulated Protective Order. Similarly, no Party waives any right to object on any
 26   ground to use in evidence of any of the material covered by this Protective Order.
 27         12.3 Filing Protected Material. A Party that seeks to file under seal any
 28   Protected Material must comply with Local Civil Rule 79-5. Protected Material
                                                 12
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  1   may only be filed under seal pursuant to a court order authorizing the sealing of the
  2   specific Protected Material at issue. If a Party’s request to file Protected Material
  3   under seal is denied by the court, then the Receiving Party may file the information
  4   in the public record unless otherwise instructed by the court.
  5

  6   13.   FINAL DISPOSITION
  7

  8         Within 60 days after the final disposition of this Action, as defined in
  9   paragraph 4, each Receiving Party must return all Protected Material to the
 10   Producing Party or destroy such material. As used in this subdivision, “all Protected
 11   Material” includes all copies, abstracts, compilations, summaries, and any other
 12   format reproducing or capturing any of the Protected Material. Whether the
 13   Protected Material is returned or destroyed, the Receiving Party must submit a
 14   written certification to the Producing Party (and, if not the same person or entity, to
 15   the Designating Party) by the 60 day deadline that (1) identifies (by category, where
 16   appropriate) all the Protected Material that was returned or destroyed and (2) affirms
 17   that the Receiving Party has not retained any copies, abstracts, compilations,
 18   summaries or any other format reproducing or capturing any of the Protected
 19   Material. Notwithstanding this provision, Counsel are entitled to retain an archival
 20   copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
 21   memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
 22   work product, and consultant and expert work product, even if such materials
 23   contain Protected Material. Any such archival copies that contain or constitute
 24   Protected Material remain subject to this Protective Order as set forth in Section 4
 25   (DURATION).
 26

 27

 28
                                                13
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  1   14.   Any violation of this Order may be punished by any and all appropriate
  2   measures including, without limitation, contempt proceedings and/or monetary
  3   sanctions.
  4

  5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  6

  7   DATED April 21, 2021
  8         /s/ Narek Postajian
  9   _____________________________________
 10   Sharona Hakim / Narek Postajian
      Attorneys for Plaintiff Teresa Del Carmen Garcia
 11

 12

 13
      DATED: April 26, 2021
 14
            /s/ Sean R. Burnett
 15   _____________________________________
      Sean Burnett / Jessica Farley
 16   Attorneys for Defendant TARGET CORPORATION
 17

 18

 19   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 20

 21

 22   DATED: ________________________
              April 29, 2021
 23

 24   _____________________________________
               / s / Sagar
 25   Honorable Alka Sagar
      United States Magistrate Judge
 26

 27

 28
                                             14
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  1                                         EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3

  4   I, _____________________________ [print or type full name], of
  5   _________________ [print or type full address], declare under penalty of perjury
  6   that I have read in its entirety and understand the Stipulated Protective Order that
  7   was issued by the United States District Court for the Central District of California
  8   on April ____, 2021 in the case of Teresa del Carmen Garcia v. Target
  9   Corporation, Case No. 2:20-cv-08659 MWF (ASx). I agree to comply with and to
 10   be bound by all the terms of this Stipulated Protective Order and I understand and
 11   acknowledge that failure to so comply could expose me to sanctions and punishment
 12   in the nature of contempt. I solemnly promise that I will not disclose in any manner
 13   any information or item that is subject to this Stipulated Protective Order to any
 14   person or entity except in strict compliance with the provisions of this Order.
 15   I further agree to submit to the jurisdiction of the United States District Court for the
 16   Central District of California for enforcing the terms of this Stipulated Protective
 17   Order, even if such enforcement proceedings occur after termination of this action.
 18   I hereby appoint __________________________ [print or type full name] of
 19   _______________________________________ [print or type full address and
 20   telephone number] as my California agent for service of process in connection with
 21   this action or any proceedings related to enforcement of this Stipulated Protective
 22   Order.
 23   Date: ______________________________________
 24   City and State where sworn and signed: _________________________________
 25

 26   Printed name: _______________________________
 27

 28   Signature: __________________________________
                                                 15
